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14
15                              UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17
18                                               Case No. 3:17-cv-06748-WHO
     DEMETRIC DI-AZ, OWEN DIAZ, and
19   LAMAR PATTERSON,                            DECLARATION OF OWEN DIAZ
20               Plaintiffs,
                                                 Trial Date: September 27, 2021
21        v.                                     Complaint filed: October 16, 2017
22   TESLA, INC. dba TESLA MOTORS, INC.;
     CITISTAFF SOLUTIONS, INC.; WEST
23   VALLEY STAFFING GROUP;
     CHARTWELL STAFFING SERVICES, INC.;
24   and DOES 1-50, inclusive,
25        Defendants.
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                                    DECLARATION OF OWEN DIAZ
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     I, OWEN DIAZ, hereby declare:
 1
 2          1.      I am a Plaintiff in the case Di-az, et al. v. Tesla, Inc., et al., United States Distrct

 3   Court case no. 3:17-cv-06748-WHO.
 4
            2.      Demetric Di-az is my son. He is currently incarcerated with the California
 5
     Department of Corrections. I speak with him regularly by phone.
 6
 7          3.      My son has informed me that he is incarcerated at a California Department of

 8   Corrections Facility in or around Soledad, California.
 9
            I declare under penalty of perjury under the laws of the United States of America that the
10
     foregoing is true and correct. Executed on September 23, 2021 in                      , California.
11
12
13   DATED: September 23, 2021                      By:_________________ ______________
14                                                       Owen Diaz

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                                        DECLARATION OF OWEN DIAZ
